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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8   UNITED STATES OF AMERICA,                             NO. CR13-64-RAJ
 9
                                     Plaintiff,
10
            v.
11                                                         DETENTION ORDER
     CHARLES ANTHONY WILLIAMS,
12
                                     Defendant.
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14
     Offense charged:
15
                      Count 1:       Conspiracy to Commit Bank Robbery in violation of 18 U.S.C. §
16                                   2113(a)
17                    Count 2:       Bank Robbery, in violation of 18 U.S.C. § 2113(a) and 2
18
     Date of Detention Hearing: May 2, 2013
19          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
20   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
21
             FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
            1.        Defendant is currently in custody on other charges and has stipulated to
23
     detention, but reserves the right to contest his continued detention if there is a change in
24
     circumstances.
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 1          2.      There are no conditions or combination of conditions other than detention that

 2   will reasonably assure the appearance of defendant as required or ensure the safety of the

 3   community.

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 5          IT IS THEREFORE ORDERED:

 6          (1)     Defendant shall be detained and shall be committed to the custody of the

 7                  Attorney General for confinement in a correction facility separate, to the extent

 8                  practicable, from persons awaiting or serving sentences or being held in custody

 9                  pending appeal;

10          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

11                  counsel;

12          (3)     On order of a court of the United States or on request of an attorney for the

13                  government, the person in charge of the corrections facility in which defendant

14                  is confined shall deliver the defendant to a United States Marshal for the

15                  purpose of an appearance in connection with a court proceeding; and

16          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

17                  counsel for the defendant, to the United States Marshal, and to the United States

18                  Pretrial Services Officer.

19          DATED this 2nd day of May, 2013.

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                                                  AJAMES P. DONOHUE
22                                                 United States Magistrate Judge

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